Case 6:19-cv-00059-RWS Document 91 Filed 05/18/20 Page 1 of 10 PageID #: 1098




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 LONE STAR TECHNOLOGICAL
 INNOVATIONS, LLC,
      Plaintiff,
      v.                                                 Civil Action No. 6:19-CV-00059-RWS

 ASUSTEK COMPUTER INC.,                                  (Lead Case)

      Defendants
                                                         JURY TRIAL DEMANDED


 PLAINTIFF LONE STAR TECHNOLOGICAL INNOVATIONS, LLC’S OPPOSITION
           TO DEFENDANTS’ MOTION TO STRIKE AND EXCLUDE

       Plaintiff Lone Star Technological Innovations, LLC (hereinafter “Lone Star”) respectfully
submits this opposition to Defendants’ Motion to Strike and Exclude Certain Claim Construction

Submissions (“Motion”) (Dkt. No. 86).

I.     Argument

       A. Lone Star Timely Disclosed Its Construction For “Viewer” And Should Be
          Allowed

       As a preliminary matter, Defendants state that Lone Star must meet the “good cause”

standard, stating that Lone Star is seeking a motion to “amend the schedule.” Motion at 2-3.

However, Lone Star is not making any such motion. Lone Star’s construction of “viewer” and its

evidence were timely disclosed and are admissible. Further, the cases cited by Defendants relate

to motions to strike amended infringement or invalidity contentions submitted after a claim

construction order, which under Local Patent Rule 3-6 requires “good cause.” Specifically, S&W

Enters.v. Southtrust Bank of Ala., 315 F.3d 533,535 (5th Cir. 2003), involved an appeal from a

plaintiff that was not allowed to amend its Complaint for a breach of contract dispute. Nike, Inc.


                                                1
Case 6:19-cv-00059-RWS Document 91 Filed 05/18/20 Page 2 of 10 PageID #: 1099




v. Adidas Am., Inc., 479 F. Supp. 664, 668 (E.D. Tex. 2007), involved a motion to strike amended

infringement contentions after the claim construction ruling based on Local Patent Rule 3-6(a)(1),

which required a showing of “good faith,” whereas no such requirement exists in the applicable

local patent rules here.    Instead, it is Defendants’ burden to meet the various requirements to

strike that Defendants seek rather than shifting the burden to Lone Star. The Court should deny

Defendants’ Motion to strike.

       More importantly, Lone Star timely disclosed its construction of “viewer” on March 16,

2020. See Dkt. No. 82-2. The definition of “viewer” that Lone Star argues for in its Opening

Claim Construction Brief is the same definition Lone Star proposed in the Patent Rule 4-3 Joint

Claim Construction and Prehearing Statement. Id. Per the Patent Local Rules and the DCO in this

case, Lone Star timely made this disclosure on March 16, 2020. Thus, Defendants’ real complaint

appears to be that Lone Star’s definition changed from its Patent Local Rule 4-2 Preliminary

Disclosures. Defendants have not cited any authority that prevents a party from changing the view

of its construction from its 4-2 Preliminary constructions to what is disclosed in its 4-3s.

       Defendants ignore that Patent Local Rule 4-2(c) requires the parties to “meet and confer

for the purpose of narrowing the issues and finalizing preparation of a Joint Claim Construction

and Prehearing Statement.” The purpose of this process and why at the 4-2 stage proposed

constructions are considered “preliminary” is that after the meet and confer it is contemplated that

some parties may adjust their constructions, as the issues become more focused. Otherwise the

purpose of the Preliminary Constructions is subverted Indeed, Defendants do not cite a single

case for the position that a parties’ construction cannot change from its preliminary 4-2 disclosures

to their 4-3 disclosures.




                                                  2
Case 6:19-cv-00059-RWS Document 91 Filed 05/18/20 Page 3 of 10 PageID #: 1100




        Despite having Lone Star’s construction for viewer since March 16, 2020, Defendants

waited 38 days after they were on notice of Lone Star’s revised construction and until after Lone

Star filed its opening claim construction brief to take issue with the construction. Defendants’

claim that they were somehow prejudiced by this ring hollow. “As the Court has found in other

contexts, ‘defendant cannot lay behind the log until late in the case and then claim it lacks

notice.” Realtime Data, LLC v. Rackspace US, Inc., No. 616CV00961RWSJDL, 2017 WL

1376621, at *2 (E.D. Tex. Apr. 17, 2017). In Realtime the Court refused to exclude Plaintiff’s

Expert’s Disclosure stating that “NetApp had ample opportunities to challenge Realtime’s Local

Patent Rule 4-2(b) and 4-3(b) disclosures long before Realtime filed its opening claim construction

brief but chose not to take them.” Id. Just like Realtime, Defendants waited until after Lone Star

filed its Opening Brief to file its Motion to strike.

         Finally, no prejudice exists to Defendants. Defendants’ Patent Rule 4-1 exchange on

February 5, proposed 22 terms for construction. On February 13, Lone Star sought to meet and

confer with defendants to reduce the dispute terms to ten. Defendants waited until the March 5,

Patent Rule 4-3 meet and confer to work with Lone Star to reduce the claim terms to ten. The

parties filed a motion on March 11 to extend the 4-3 deadline to March 16 as the disputed terms

was still over ten. (Dkt. No. 69). The parties agreed to ten terms on March 13.         Lone Star

submitted the final construction for “viewer” three days later on March 16. Defendants can hardly

claim prejudice when they took so long in narrowing down the disputed terms to the 4-3 limit and

thus was responsible for the “harm” that they claim to have suffered. Further, Defendants have

been on notice since March 16, 2020 of Lone Star’s position. Defendants claim construction brief

was not due until May 6, 2020—they had plenty of time to make any adjustments. Defendants’

Motion also recognized that the March 16 construction was a “final construction” compared to the




                                                   3
Case 6:19-cv-00059-RWS Document 91 Filed 05/18/20 Page 4 of 10 PageID #: 1101




preliminary constructions exchanged on February 19. See Defendants’ Motion at 3 (“parties

exchanged their final constructions”). Defendants’ Motion does not state how or why they are

prejudiced. In fact, as stated in Defendants’ Motion at 5 that Plaintiff has offered to allow

Defendants to submit a supplemental expert declaration, which Defendant has refused, likely

because there is nothing different to offer.

       For all of the above reasons, Plaintiff’s Motion should be denied.

       B. Lone Star’s Extrinsic Evidence Was Properly Disclosed And Should Be Allowed
          Court’s Previous Proposed Constructions

                1. Exhibit 5

       Exhibit 5 is an Adobe published technical document entitled, “Matching RGB Color from

Monitor to Printer.” As a preliminary matter, Lone Star timely disclosed its intent to use this

publication as extrinsic evidence during its Patent Local Rules 4-2 Preliminary Claim Construction

Disclosure on February 19, 2020. See Dkt. No. 82-2 at 2. Despite Lone Star’s timely disclosure,

the first time that Defendants raised any objection to Exhibit 5 was after Lone Star filed its Opening

Claim Construction brief. “As the Court has found in other contexts, ‘defendant cannot lay behind

the log until late in the case and then claim it lacks notice.” Realtime Data, LLC v. Rackspace US,

Inc., No. 616CV00961RWSJDL, 2017 WL 1376621, at *2 (E.D. Tex. Apr. 17, 2017).

       Defendants cite generic evidentiary challenges to Exhibit 5, while completely ignoring the

document itself. The document states that it was copyrighted in 1991-1992 by Adobe Systems

Incorporated.      Further,    Exhibit   5     is   publicly   available   on   Adobe’s   website    at

https://www.adobe.com/content/dam/acom/en/devnet/postscript/pdfs/5122.MatchRGB.pdf.                 See

Declaration of Bradley D. Liddle, Ex. A. These factors give sufficient justification for the

document to be admissible.




                                                     4
Case 6:19-cv-00059-RWS Document 91 Filed 05/18/20 Page 5 of 10 PageID #: 1102




       Courts have found testimony of a viewer of Internet evidence “in combination

with circumstantial indicia of authenticity (such as the dates and web addresses), would support

a finding” that the website documents are what the proponent asserts. Perfect 10, Inc. v. Cybernet

Ventures, Inc., 213 F.Supp.2d 1146, 1154 (C.D. Cal. 2002) (emphasis added). See also, Lorraine

v. Markel American Insurance Company, 241 F.R.D. 534, 546 (D. Md. May 4, 2007) (citing

Perfect 10, and referencing MD5 hash values as an additional element of potential “circumstantial

indicia” for authentication of electronic evidence). Given that Adobe is a well-known reputable

company and that the document is available on its website, along with the fact that it is copyrighted,

provides sufficient circumstantial indicia that the document is admissible. Further, Exhibit 5 was

offered and accepted by another Court in this District in prior claim construction proceedings

regarding this patent. See Lone Star Technological Innovations, LLC v. Acer, et al., Case No. 6-

15-cv-973-JRG-JDL, Dkt. No. 50 at 22 (attached as Exhibit 8).            Thus, Exhibit 5 meets the

requirements for authentication under F.R.E. 901.

       Lone Star is unclear of the basis for Defendants’ hearsay objection. The Federal Circuit

has specifically allowed the use of extrinsic evidence during claim construction, stating:

       we have also authorized district courts to rely on extrinsic evidence, which
       ‘consists of all evidence external to the patent and prosecution history, including
       expert and inventor testimony, dictionaries, and learned treatises.’ Markman, 52
       F.3d at 980, citing Seymour v. Osborne, 78 U.S. (11 Wall.) 516, 546, 20 L. Ed. 33
       (1870); see also Vitronics, 90 F.3d at 1583.


Phillips v. AWH Corp., 315 F.3d 1303, 1317-1318 (Fed. Cir. 2005). As such courts and

commentators have often adopted a loosened approach regarding hearsay regarding extrinsic

evidence. As stated by one court,

       “even assuming the expert reports from the other cases are hearsay, it is not
       improper for the Court to consider them as extrinsic evidence that may impact a
       determination of the proper construction. See Sterisil, Inc. v. ProEdge Dental



                                                  5
Case 6:19-cv-00059-RWS Document 91 Filed 05/18/20 Page 6 of 10 PageID #: 1103




       Products, Inc., 2015 U.S. Dist. LEXIS 189885, 2015 WL 13091166, at n.2 (D.
       Colo. Aug. 7, 2015) ("As a general matter, courts and commentators have
       recommended an approach to claim construction hearings and technology
       tutorials where the Federal Rules of Evidence are applied 'loosely' without
       demanding all of the requirements for admissibility to be satisfied as would be the
       case for presentation of evidence to a jury of lay persons."); Neev v. Abbott
       Medical Optics, Inc., 2012 U.S. Dist. LEXIS 42024, 2012 WL 1066797 (D. Del.
       Mar. 26, 2012) (overruling hearsay objection to portions of claim construction
       brief).


Arris Grp., Inc. v. Mobile Telecomms. Techs., LLC (In re Mobile Telecomms. Techs., LLC), 265

F. Supp. 3d 454, 466 n.14 (D. Del. 2017).

       Exhibit 2

       Exhibit 2 is a copy of the Court’s Proposed Claim Constructions that the Court gave in a

previous litigation (Lone Star Technological Innovations, LLC v. Acer, et al., Case No. 6-15-cv-

973-JRG-JDL) involving the same patent. As such, Exhibit 2 is self-authenticating as an official

Court record. See Declaration of Bradley D. Liddle, Ex. A.

       Additionally, these proposed constructions are part of the intrinsic record and thus, highly

relevant to the claim construction proceedings. Implicit, LLC v. NetScout Sys., Inc., No. 2:18-CV-

53-JRG, 2019 WL 1614725, at *4 (E.D. Tex. Apr. 15, 2019) (“In general, prior claim construction

proceedings involving the same patents-in-suit are “entitled to reasoned deference under the broad

principals of stare decisis and the goals articulated by the Supreme Court in Markman, even though

stare decisis may not be applicable per se.” Maurice Mitchell Innovations, LP v. Intel Corp., No.

2:04-CV-450, 2006 WL 1751779, at *4 (E.D. Tex. June 21, 2006) (Davis, J.); see TQP

Development, LLC v. Intuit Inc., No. 2:12-CV-180, 2014 WL 2810016, at *6 (E.D. Tex. June 20,

2014) (Bryson, J.) (“[P]revious claim constructions in cases involving the same patent are entitled

to substantial weight, and the Court has determined that it will not depart from those constructions

absent a strong reason for doing so.”); see also Teva Pharm. USA, Inc. v. Sandoz, Inc., 135 S. Ct.



                                                 6
Case 6:19-cv-00059-RWS Document 91 Filed 05/18/20 Page 7 of 10 PageID #: 1104




831, 839–40 (2015) (“prior cases will sometimes be binding because of issue preclusion and

sometimes will serve as persuasive authority”) (citation omitted); Finisar Corp. v. DirecTV Grp.,

Inc., 523 F.3d 1323, 1329 (Fed. Cir. 2008) (noting “the importance of uniformity in the treatment

of a given patent”) (quoting Markman v. Westview Instruments, Inc., 517 U.S. 370, 390 (1996)).

        Finally, Lone Star timely provided Defendants with a copy of the Court’s prior proposed

constructions on January 15, 2020 - more than four months before claim construction briefing.

Defendants were on notice and cannot now claim prejudice.

        In addition, the chart is highly relevant to claim construction here. This chart was created

by the Court in Lone Star Technological Innovations, LLC v. Acer, et al., and is referred to in the

Markman hearing transcript for that case. Lone Star Technological Innovations, LLC v. Acer, et

al., Case No. 6-15-cv-973-JRG-JDL, Dkt. No. 66. There the Court invested substantial time in

that case, not only in considering all of the arguments, but also in hiring a technical advisor and

in conducting the Markman hearing. Thus, the substantial weight of the evidence outweighs any

alleged prejudice by the Defendants in this case.

        C. Lone Star’s Tutorial Properly Educates The Court Regarding The Technology
           At Issue

        Lone Star elected to provide the Court with a technical tutorial explaining the background

of the technology, the problem in the art to overcome, and the general concepts of the patented

technology related to the ’435 Patent. Lone Star previously submitted a similar tutorial (as it

relates to the ’435 Patent) in Lone Star Technological Innovations, LLC v. Acer, et al., Case No.

6-15-cv-973-JRG-JDL. Defendants did not submit a technical tutorial. Instead, Defendants seek

to strike portions of Plaintiff’s tutorial without authority.




                                                    7
Case 6:19-cv-00059-RWS Document 91 Filed 05/18/20 Page 8 of 10 PageID #: 1105




          Defendants’ argue that Lone Star’s technical tutorial is improper citing a handful of

objections. See Motion at 8-9.      Lone Star responds to each of Defendants’ objections as

follows:

 Segment of Video            Lone Star’s Response to Defendants’ objections

 01:00-01:26                 Defendants are quoting the patent out of context. The patent clearly states
                             that prior to the invention, changing hue or saturation prior to the invention
                             affected all colors: “individual color by this procedure affects the hue
                             and/or saturation of all the colors or color components of the television
                             image, and not just the hue or saturation of the individual color desired
                             to be changed by the user.” Col. 2: 3-8.
 02:40-2:52                  The video is consistent with Lone Star’s proposed constructions. Light blue
                             to dark blue all have blue as an individual color component, whether it’s
                             light blue or dark blue depends on the value of blue.
 03:40-03:49                 The technical tutorial does not provide an explicit definition of hue or
                             saturation, but rather a description of each. The fact that Lone Star did not
                             use the exact language that it proposed in this case for the technology
                             tutorial is of no import, since the purpose was to explain the concept. To
                             do what Defendants suggest would be improper advocacy not a background
                             primer on the technology at issue.
 09:30-10:30                 Lone Star is proving a technological overview. It neither argues a
                             construction position nor “redefines” an equation. The technical tutorial
                             merely provides an example of the application of the patent technology.
                             .


 10:30-11:20                 Lone Star does not attempt to define a claim term. Rather, the technical
                             tutorial explains an individual color in the context of the patented
                             technology. The patent clearly states that prior to the invention, changing
                             hue or saturation prior to the invention affected all colors: “individual
                             color by this procedure affects the hue and/or saturation of all the colors or
                             color components of the television image, and not just the hue or saturation
                             of the individual color desired to be changed by the user.” Col. 2: 3-8.
 11:20-12:25                 Lone Star does not attempt to define the scope of the patent claims. Rather,
                             the technical tutorial explains the general application of the patented
                             technology in a manner consistent with the patent itself.



II.       Conclusion

          For the foregoing reasons, Lone Star asks the Court to deny Defendants’ Motion to

Strike.




                                                     8
Case 6:19-cv-00059-RWS Document 91 Filed 05/18/20 Page 9 of 10 PageID #: 1106




Dated: May 18, 2020                   Respectfully submitted,

                                      By: /s/ Bradley D. Liddle


                                          Bradley D. Liddle
                                          Texas State Bar Number 24074599
                                          bliddle@carterarnett.com
                                          Minghui Yang
                                          Texas State Bar Number 24091486
                                          myang@carterarnett.com
                                          Laura Maninger
                                          Texas State Bar Number 24106245
                                          lmaninger@carterarnett.com
                                          CARTER ARNETT, PLLC
                                          8150 N. Central Expressway, Suite 500
                                          Dallas, Texas 75206
                                          (214) 550-8188

                                          John Saba
                                          WITTLIFF CUTTER PLLCS
                                          1803 West Avenue
                                          Austin, Texas 78701
                                          (512) 960-4865
                                          john@witliffcutter.com

                                          John Lee (admitted to E.D. Texas)
                                          BANIE & ISHIMOTO LLP
                                          3705 Haven Ave. $137
                                          Menlo Park, CA 94025
                                          (650) 241-2771
                                          Attorneys for Plaintiff Lone Star
                                          Technological Innovations, LLC




                                      9
Case 6:19-cv-00059-RWS Document 91 Filed 05/18/20 Page 10 of 10 PageID #: 1107




                                CERTIFICATE OF SERVICE

        I hereby certify that on Ma 18, 2020, I electronically filed the foregoing Motion using

 the CM/ECF system which will send notification of such filing via electronic mail to all counsel

 of record.

                                                     /s/ Bradley D. Liddle




                                                10
